>G&75B8 -- #FRc' #"($"$"$                     Case 3:21-cv-09797 Document 1-2 Filed 12/20/21 Page 1 of 1
                                                                                         /5B58 /;B1> ?411@
HUR >G&75B8 -- PVcVY P\cR_ `URRa N[Q aUR V[S\_ZNaV\[ P\[aNV[RQ UR_RV[ [RVaUR_ _R]YNPR [\_ `b]]YRZR[a aUR SVYV[T N[Q `R_cVPR \S ]YRNQV[T` \_ \aUR_ ]N]R_` N` _R^bV_RQ Of YNd%
RePR]a N` ]_\cVQRQ Of Y\PNY _bYR` \S P\b_a' HUV` S\_Z% N]]_\cRQ V[ Va` \_VTV[NY S\_Z Of aUR >bQVPVNY 7\[SR_R[PR \S aUR I[VaRQ GaNaR` V[ GR]aRZOR_ *20-% V` _R^bV_RQ S\_ aUR 7YR_X \S
7\b_a a\ V[VaVNaR aUR PVcVY Q\PXRa `URRa' (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
5' #F$ <8-5:@522?                                                                                                        0121:0-:@?
  Meta Platforms, Inc.; Instagram, LLC; WhatsApp LLC                                                                    Does 1-100
   #G$ 7\b[af \S FR`VQR[PR \S :V_`a @V`aRQ DYNV[aVSS                    San Mateo                                        7\b[af \S FR`VQR[PR \S :V_`a @V`aRQ 8RSR[QN[a
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                         BCH93         =B @5B8 7CB89AB5H=CB 75G9G% IG9 H<9 @C75H=CB C:
                                                                                                                                       H<9 HF57H C: @5B8 =BJC@J98'
   #H$      5aa\_[Rf` (Firm Name, Address, and Telephone Number)                                                         5aa\_[Rf` (If Known)
 Bonnie MacNaughton (Bar #107402), Grant Damon-Feng (Bar #319451), Davis Wright Tremaine LLP, 920 Fifth Ave., Ste
 3300, Seattle, WA 98104, (206) 622-3150; John D. Freed (Bar #261518), Davis Wright Tremaine LLP, 505 Montgomery St.,
 Ste 800, San Francisco, CA 94111, (415) 276-6500

55'        .-?5? ;2 6A>5?05/@5;: (Place an “X” in One Box Only)                                         555' /5@5E1:?45< ;2 <>5:/5<-8 <->@51? (Place an “X” in One Box for Plaintiff
                                                                                                                 (For Diversity Cases Only)                                     and One Box for Defendant)
                                                                                                                                                   <@2        012                                      <@2      012
      *    I'G' ;\cR_[ZR[a DYNV[aVSS            ,     :RQR_NY EbR`aV\[                                         7VaVgR[ \S HUV` GaNaR                 *         *      =[P\_]\_NaRQ or D_V[PV]NY DYNPR      -      -
                                                      (U.S. Government Not a Party)
                                                                                                                                                                      \S 6b`V[R`` =[ HUV` GaNaR
                                                                                                               7VaVgR[ \S 5[\aUR_ GaNaR                +        +     =[P\_]\_NaRQ and D_V[PV]NY DYNPR     .       .
      +    I'G' ;\cR_[ZR[a 8RSR[QN[a            -     8VcR_`Vaf                                                                                                       \S 6b`V[R`` =[ 5[\aUR_ GaNaR
                                                    (Indicate Citizenship of Parties in Item III)
                                                                                                               7VaVgR[ \_ GbOWRPa \S N                 ,        ,     :\_RVT[ BNaV\[                       /       /
                                                                                                               :\_RVT[ 7\b[a_f

5B'          :-@A>1 ;2 ?A5@                    (Place an “X” in One Box Only)
          /;:@>-/@                                                           @;>@?                                       2;>215@A>1(<1:-8@D                       .-:7>A<@/D                    ;@41> ?@-@A@1?
   **) =[`b_N[PR                             <1>?;:-8 5:6A>D                         <1>?;:-8 5:6A>D                     /+. 8_bT FRYNaRQ GRVgb_R \S         -++ 5]]RNY +1 IG7 h *.1         ,0. :NY`R 7YNVZ` 5Pa
   *+) AN_V[R                                                                                                                D_\]R_af +* IG7 h 11*           -+, KVaUQ_NdNY +1 IG7           ,0/ EbV HNZ #,* IG7
                                           ,*) 5V_]YN[R                            ,/. DR_`\[NY =[Wb_f i D_\QbPa
   *,) AVYYR_ 5Pa                                                                      @VNOVYVaf                         /2) CaUR_                               h *.0                           h ,0+2#N$$
                                           ,*. 5V_]YN[R D_\QbPa @VNOVYVaf
   *-) BRT\aVNOYR =[`a_bZR[a                                                       ,/0 <RNYaU 7N_R(                                8-.;>                       <>;<1>@D >534@?               -)) GaNaR FRN]]\_aV\[ZR[a
                                           ,+) 5``NbYa% @VORY " GYN[QR_
   *.) FRP\cR_f \S                                                                     DUN_ZNPRbaVPNY DR_`\[NY                                                                               -*) 5[aVa_b`a
                                           ,,) :RQR_NY 9Z]Y\fR_`l                                                        0*) :NV_ @NO\_ GaN[QN_Q` 5Pa        1+) 7\]f_VTUa`
       CcR_]NfZR[a CS                                                                  =[Wb_f D_\QbPa @VNOVYVaf                                                                              -,) 6N[X` N[Q 6N[XV[T
                                               @VNOVYVaf                                                                 0+) @NO\_(AN[NTRZR[a                1,) DNaR[a
       JRaR_N[l` 6R[RSVa`                                                          ,/1 5`OR`a\` DR_`\[NY =[Wb_f                                                                              -.) 7\ZZR_PR
                                           ,-) AN_V[R                                                                        FRYNaV\[`                       1,. DNaR[an5OO_RcVNaRQ BRd
   *.* ARQVPN_R 5Pa                                                                    D_\QbPa @VNOVYVaf
                                           ,-. AN_V[R D_\QbPa @VNOVYVaf                                                  0-) FNVYdNf @NO\_ 5Pa                   8_bT 5]]YVPNaV\[            -/) 8R]\_aNaV\[
   *.+ FRP\cR_f \S 8RSNbYaRQ                                                       <1>?;:-8 <>;<1>@D                                                                                         -0) FNPXRaRR_ =[SYbR[PRQ "
                                           ,.) A\a\_ JRUVPYR                                                             0.* :NZVYf N[Q ARQVPNY              1-) H_NQRZN_X
       GabQR[a @\N[` #9ePYbQR`                                                     ,0) CaUR_ :_NbQ                                                                                               7\__b]a C_TN[VgNaV\[`
                                           ,.. A\a\_ JRUVPYR D_\QbPa                                                         @RNcR 5Pa                       11) 8RSR[Q H_NQR GRP_Ra`
       JRaR_N[`$                                                                   ,0* H_baU V[ @R[QV[T
                                               @VNOVYVaf                                                                 02) CaUR_ @NO\_ @VaVTNaV\[              5Pa \S +)*/                 -1) 7\[`bZR_ 7_RQVa
   *., FRP\cR_f \S                                                                 ,1) CaUR_ DR_`\[NY D_\]R_af
                                           ,/) CaUR_ DR_`\[NY =[Wb_f                                                     02* 9Z]Y\fRR FRaV_RZR[a                                             -1. HRYR]U\[R 7\[`bZR_
       CcR_]NfZR[a                                                                                                                                            ?;/5-8 ?1/A>5@D
                                                                                       8NZNTR                                =[P\ZR GRPb_Vaf 5Pa                                                 D_\aRPaV\[ 5Pa
    \S JRaR_N[l` 6R[RSVa`                  ,/+ DR_`\[NY =[Wb_f &ARQVPNY                                                                                      1/* <=5 #*,2.SS$
                                               ANY]_NPaVPR                         ,1. D_\]R_af 8NZNTR D_\QbPa                                                                               -2) 7NOYR(GNa HJ
   */) Ga\PXU\YQR_`l GbVa`                                                             @VNOVYVaf                                59953>-@5;:                  1/+ 6YNPX @b[T #2+,$            1.) GRPb_VaVR`(7\ZZ\QVaVR`(
   *2) CaUR_ 7\[a_NPa                                                                                                    -/+ BNab_NYVgNaV\[                  1/, 8=K7(8=KK #-).#T$$              9ePUN[TR
                                                 /5B58 >534@?                      <>5?;:1> <1@5@5;:?
   *2. 7\[a_NPa D_\QbPa @VNOVYVaf                                                                                            5]]YVPNaV\[                     1/- GG=8 HVaYR LJ=
                                           --) CaUR_ 7VcVY FVTUa`                                                                                                                            12) CaUR_ GaNaba\_f 5PaV\[`
                                                                                      4-.1-? /;><A?                      -/. CaUR_ =ZZVT_NaV\[
   *2/ :_N[PUV`R                                                                                                                                             1/. FG= #-).#T$$                12* 5T_VPbYab_NY 5Pa`
                                           --* J\aV[T                              -/, 5YVR[ 8RaNV[RR                        5PaV\[`
          >1-8 <>;<1>@D                    --+ 9Z]Y\fZR[a                                                                                                    2101>-8 @-C ?A5@?               12, 9[cV_\[ZR[aNY ANaaR_`
                                                                                   .*) A\aV\[` a\ JNPNaR
   +*) @N[Q 7\[QRZ[NaV\[                   --, <\b`V[T(                                GR[aR[PR                                                              10) HNeR` #I'G' DYNV[aVSS \_    12. :_RRQ\Z \S =[S\_ZNaV\[
                                               5PP\ZZ\QNaV\[`                                                                                                    8RSR[QN[a$                      5Pa
   ++) :\_RPY\`b_R                                                                 .,) ;R[R_NY
                                           --. 5ZR_' d(8V`NOVYVaVR`i                                                                                         10* =FGiHUV_Q DN_af +/ IG7      12/ 5_OVa_NaV\[
   +,) FR[a @RN`R " 9WRPaZR[a                                                      .,. 8RNaU DR[NYaf
                                               9Z]Y\fZR[a                                                                                                         h 0/)2                     122 5QZV[V`a_NaVcR D_\PRQb_R
   +-) H\_a` a\ @N[Q                                                                        ;@41>
                                           --/ 5ZR_' d(8V`NOVYVaVR`iCaUR_                                                                                                                        5Pa(FRcVRd \_ 5]]RNY \S
   +-. H\_a D_\QbPa @VNOVYVaf                                                      .-) AN[QNZb` " CaUR_                                                                                          5TR[Pf 8RPV`V\[
   +2) 5YY CaUR_ FRNY D_\]R_af             --1 9QbPNaV\[
                                                                                   ..) 7VcVY FVTUa`                                                                                          2.) 7\[`aVabaV\[NYVaf \S GaNaR
                                                                                   ... D_V`\[ 7\[QVaV\[                                                                                          GaNabaR`
                                                                                   ./) 7VcVY 8RaNV[RRi
                                                                                       7\[QVaV\[` \S
                                                                                       7\[SV[RZR[a

B'           ;>535: (Place an “X” in One Box Only)
      *   C_VTV[NY                   +     FRZ\cRQ S_\Z                  ,     FRZN[QRQ S_\Z               -    FRV[`aNaRQ \_          . H_N[`SR__RQ S_\Z              /   AbYaVQV`a_VPa         1 AbYaVQV`a_VPa
          D_\PRRQV[T                       GaNaR 7\b_a                         5]]RYYNaR 7\b_a                  FR\]R[RQ                 5[\aUR_ 8V`a_VPa (specify)        @VaVTNaV\[iH_N[`SR_     @VaVTNaV\[i8V_RPa :VYR


B5'          /-A?1 ;2              7VaR aUR I'G' 7VcVY GaNabaR b[QR_ dUVPU f\b N_R SVYV[T (Do not cite jurisdictional statutes unless diversity)3
                                    15 U.S.C. § 1114, 15 U.S.C. § 1125(a)
             -/@5;:
                                   6_VRS QR`P_V]aV\[ \S PNb`R3
                                    Trademark Infringement (Lanham Act), False Affiliation and Designation of Origin (Lanham Act), Cal. Anti-Phishing Act violations, common law Breach of Contract

B55'         >1=A1?@10 5:                       7<97? =: H<=G =G 5 /8-?? -/@5;:                                019-:0 "                                       7<97? M9G \[Yf VS QRZN[QRQ V[ P\Z]YNV[a3
             /;9<8-5:@,                         IB89F FI@9 +,% :RQ' F' 7Vc' D'                                                                                6A>D 019-:0,             MR`       B\

B555' >18-@10 /-?1#?$%                                         >I8;9                                                             8C7?9H BIA69F
      52 -:D (See instructions):
5C'         05B5?5;:-8 -??53:91:@ #/N[NQ 8THFQ >ZQJ *&)$
#<QFHJ FS _C` NS ;SJ .T\ ;SQ]$   ?-: 2>-:/5?/;(;-78-:0                                                                                     ?-: 6;?1                         1A>17-&9/75:81DB5881


0-@1 12/20/2021                                                ?53:-@A>1 ;2 -@@;>:1D ;2 >1/;>0                                                      Bonnie E. MacNaughton
